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                   IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF TEXAS
                            FORT WORTH DIVISION

JACKELINE GONZALEZ                        §
                                          §
VS.                                       §        CIVIL NO. 4:15-CV-256-Y
                                          §
STATE FARM LLOYDS                         §

                                FINAL JUDGMENT

       Pursuant to the parties’ Stipulation of Dismissal and Federal

Rule of Civil Procedure 41(a)(1)(A)(ii), all of Plaintiff’s claims

against Defendant are hereby DISMISSED WITH PREJUDICE. Costs of court

under 28 U.S.C. § 1920 shall be borne by the party incurring them.


       SIGNED November 2, 2015.


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                                              TERRY R. MEANS
                                              UNITED STATES DISTRICT JUDGE




TRM/lj
